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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )            CASE NO. 8:02CR353
                                            )
       vs.                                  )
                                            )         MEMORANDUM AND ORDER
BARRY RENFOLD COOLEY,                       )
                                            )
                     Defendant.             )

       This matter is before the Court on the Defendant’s Notice of Appeal (Filing No. 802)

and the Clerk's memorandum regarding in forma pauperis status (Filing No. 803). A

motion for a certificate of appealability was not filed. The Defendant appeals from the

Order (Filing No. 800) denying his request for permission to amend and/or supplement his

prior motion to vacate, correct or set aside sentence (Filing No. 798). The Notice of Appeal

will be also considered as a request for a certificate for appealability.

       Before the Defendant may appeal the denial of his § 2255 motion, a “Certificate of

Appealability” must issue. Pursuant to the Antiterrorism and Effective Death Penalty Act

of 1996, Pub. L. No. 104-132, 110 Stat. 1214 (“AEDPA”), the right to appeal the denial of

a § 2255 motion is governed by the certificate of appealability requirements of 28 U.S.C.

§ 2253(c). 28 U.S.C. § 2253(c)(2) provides that a certificate of appealability may issue only

if the applicant has made a substantial showing of the denial of a constitutional right:

       (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an
       appeal may not be taken to the court of appeals from–
                                               ....

              (B) the final order in a proceeding under section 2255.

       (2) A certificate of appealability may issue under paragraph (1) only if the
       applicant has made a substantial showing of the denial of a constitutional
       right.
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       (3) The certificate of appealability under paragraph (1) shall indicate which
       specific issue or issues satisfy the showing required by paragraph (2).

28 U.S.C. § 2253(c).

       A “substantial showing of the denial of a constitutional right” requires a

demonstration “that reasonable jurists could debate whether (or, for that matter, agree that)

the petition should have been resolved in a different manner or that the issues presented

were ‘”adequate to deserve encouragement to proceed further.”’“ Slack v. McDaniel, 529

U.S. 473, 484 (2000) (citing Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983)).

       The Defendant has sought relief under § 2255 repeatedly, and the Court determined

that his most recent motion to amend or supplement his prior pleadings would be futile.1

For the reasons set forth in the Court’s previously issued Memoranda and Orders denying

the defendant’s § 2255 motions (Filings No. 615, 621, 631, 643, 644, 706, 734, 782, 785,

and 800), the Court concludes that the Defendant has not made a substantial showing of

the denial of a constitutional right as required by 28 U.S.C. § 2253(c).




       1
         Defendant cites Lafler v. Cooper, – U.S. –, 132 S. Ct. 1376 (2012), as espousing
a new rule such that the instant motion is timely under 28 U.S.C. § 2255(f)(3). (Filing No.
66 at 12.) However, Lafler did not announce a new rule of constitutional law. See
Buenrostro v. United States, 697 F.3d 1137, 1140 (9th Cir. 2012) (“[N]either Frye nor Lafler
. . . decided a new rule of constitutional law.”); United States v. Cooper, – F. Supp. 2d –,
2012 WL 3860564, at *2 (D. Neb. Sept. 5, 2012) (“The difficulty with [the argument that the
limitations period did not start until Lafler was issued] is that [the defendant’s] claim of
ineffective assistance of counsel regarding an accepted plea bargain is premised on the
well-known principles set out in Strickland v. Washington, 466 U.S. 668 . . . and Strickland
was issued long ago. [The defendant] does not explain how Lafler . . . created a new rule
for cases such as his, and [the Court] cannot discern any basis for such an argument.”).
Therefore, the timeliness of Defendant’s motion will be evaluated pursuant to 28 U.S.C.
§ 2255(f)(1).


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      IT IS ORDERED:

      1.    A certificate of appealability is denied;

      2.    The Clerk of Court shall provide a copy of this Order to the Eighth Circuit

            Court of Appeals; and

      3.    A copy of this Memorandum and Order shall be mailed to the Defendant at

            his last known address.

      DATED this 8th day of May, 2013.

                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         United States District Judge




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